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                                                        The Honorable John C. Coughenour
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7
                                UNITED STATES DISTRICT COURT
8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
9

10    ESTATE OF ADAM CHRISTOPHER
      JENSEN, by the Personal Representative      NO. C20-1320-JCC
11
      PAULA DOW; and PAULA DOW, an
12    individual,                                 SNOHOMISH COUNTY DEFENDANTS’
                                                  MOTION FOR PARTIAL SUMMARY
13                             Plaintiffs,        JUDGMENT ON PLAINTIFF’S FEDERAL
                                                  CLAIMS
14           vs.
15
                                                  NOTE ON MOTION CALENDAR:
      COUNTY OF SNOHOMISH, a municipal            Friday May 7, 2021
16    corporation; SNOHOMISH COUNTY
      DEPUTY SHERIFF WILLIAM WESTSIK,
17    and his marital community; SNOHOMISH
      COUNTY DEPUTY SHERIFF KEVIN
18
      PELLEBOER, and his marital community;
19    SNOHOMISH COUNTY SHERIFF’S
      SERGEANT CHAD GWORDSKE, and his
20    marital community; EVERETT CITY
      POLICE DEPARTMENT, a municipal
21
      corporation; “DOE(S) 1-100”, employees of
22    the COUNTY OF SNOHOMISH and/or
      EVERETT CITY POLICE DEPARTMENT;
23    and “CORPORATION(S) XYZ 1-100,”
24
                               Defendants.
25
     //
26

27
      SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                       SNOHOMISH COUNTY
      PARTIAL SUMMARY JUDGMENT- 1                         PROSECUTING ATTORNEY - CIVIL DIVISION
      USDC #C20-1320-JCC                                      Robert Drewel Bldg., 8th Floor, M/S 504
                                                                       3000 Rockefeller Ave
                                                              EVERETT, WASHINGTON 98201-4060
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                            INTRODUCTION AND RELIEF REQUESTED
1

2           Defendants Snohomish County, Deputy William Westsik, Deputy Kevin Pelleboer, and

3    Sergeant Chad Gwordske (“Snohomish County Defendants”) move for summary dismissal of all
4
     federal claims against them contained in Plaintiff’s Complaint, pursuant to Fed. R. Civ. P. 56.
5
     Defendants are entitled to qualified immunity because the alleged unlawfulness of their conduct
6
     was not clearly established at the time of the events at issue and the force used was not
7

8
     unconstitutionally excessive. Plaintiff has also not alleged a sufficient basis to support a claim of

9    failure to intervene. The Court should dismiss Plaintiff’s federal claims in their entirety with
10   prejudice. If the Court does so, the Court should decline to exercise pendent jurisdiction over the
11
     remaining state law claims, as such claims are better suited to state court. The Court should
12
     instead dismiss those claims without prejudice so that Plaintiff may refile in a more appropriate
13

14
     venue, if she so chooses.

15                                         EVIDENCE RELIED UPON

16          This motion is based on the pleadings and papers filed herein, as well as the declarations
17
     of William Westsik, Kevin Pelleboer, Chad Gwordske, Nicole Stone, and Katherine Bosch, and
18
     exhibits attached thereto.
19
                                                       FACTS
20

21          A. Events of August 28, 2018

22          On August 28, 2018, at 1:36 a.m., Isabel Craig called 911 for assistance. Pelleboer Decl.,
23
     ¶ 4. Ms. Craig wanted her boyfriend, Adam Jensen, to take his things and leave her residence,
24
     located in Stanwood, Washington. Id. Snohomish County Sheriff’s Deputy Kevin Pelleboer was
25
     dispatched to Ms. Craig’s residence. Deputy Pelleboer had been with the Sheriff’s Office as a
26

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     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                    SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 2                                      PROSECUTING ATTORNEY - CIVIL DIVISION
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     Deputy for five years at the time, having been hired with the SCSO after working three years as
1

2    a trooper with the Washington State Patrol. Pelleboer Decl., ¶ 1. He had not previously had any

3    interactions with Ms. Craig. Id.
4
            At the time Deputy Pelleboer arrived at the residence, he did not yet know Mr. Jensen’s
5
     name, and had thus not been able to run a background check on Mr. Jensen in the law enforcement
6
     database available to him. See Pelleboer Decl., ¶ 8. When Deputy Pelleboer approached the
7

8
     residence, Ms. Craig allowed him to enter. Id. at ¶ 5. The residence is a townhouse, with the

9    kitchen and living room on the ground floor. A flight of stairs off of the living room leads to the
10   second floor, where there is a short landing before the hallway turns to the left, leading to a master
11
     bedroom. Id. Three additional bedrooms are to the right of the landing, with a small laundry area
12
     just to the left of the landing. Id. A diagram Deputy Pelleboer drew of the layout of the second
13

14
     story and a diagram furnished by investigators to Deputy Westsik which he marked are attached

15   as exhibits to their declarations. See Pelleboer Decl., Ex. A; Westsik Decl., Ex. A.

16          Ms. Craig allowed Deputy Pelleboer to enter the upstairs portion of the townhouse, where
17
     he saw through the open doors of the additional bedrooms to the right of the landing that there
18
     were young children inside. When Deputy Pelleboer spoke to Ms. Craig, she indicated that Mr.
19
     Jensen had moved into the Stanwood residence the week prior, but she wanted him to leave, and
20

21   he was refusing. Deputy Pelleboer noted Ms. Craig’s demeanor was calm. Pelleboer Decl., ¶ 6.

22          However, when Deputy Pelleboer spoke to Mr. Jensen, he was agitated. Mr. Jensen was
23
     yelling and confrontational. He told Deputy Pelleboer that the deputy could not force him to leave
24
     because he lived there. Because there was no allegation of domestic violence which would have
25
     triggered a mandatory arrest if probable cause existed, Deputy Pelleboer suggested to Ms. Craig
26

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      SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                   SNOHOMISH COUNTY
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     and Mr. Jensen that they separate for the night and revisit the issue at a later time. Pelleboer Decl.,
1

2    ¶ 7. Mr. Jensen finally relented, gathered some of his things, and went out to his car. When

3    Deputy Pelleboer returned to his patrol vehicle, he ran the license plate number on Mr. Jensen’s
4
     vehicle. Deputy Pelleboer learned that Mr. Jensen had had very recent prior contacts with Everett
5
     Police as a result of threatening to kill himself. Pelleboer Decl., ¶ 8.
6
             B. Events of September 9, 2018
7

8
             Twelve days later, on September 9, 2018, at approximately 2:40 a.m., Isabel Craig called

9    911 to report that her boyfriend Adam Jensen had pushed her off their bed in her home in
10   Stanwood, Washington. Pelleboer Decl., ¶ 9 and Ex. B at 2:14-17; Westsik Decl., ¶ 5. Ms. Craig’s
11
     three minor children were home at the time of the reported incident and in their bedrooms
12
     upstairs. Pelleboer Decl., ¶ 10. Ms. Craig also reported to the 911 dispatcher that Mr. Jensen had
13

14
     a knife and was suicidal. Pelleboer Decl., ¶ 9; Westsik Decl., ¶ 5; Gwordske Decl., ¶ 7.

15           All of this was communicated over the Snohomish County Sheriff’s Office radio dispatch.

16   The dispatcher first reported the incident:
17
            DISPATCHER: 31 Sam, Stanwood units holding a physical DV.                           [Address
18          redacted], male versus female.

19   Pelleboer Decl., Ex. B at 2:4-5. Deputy Kevin Pelleboer was on duty that night and recognized
20
     the address from his contact with Ms. Craig and Mr. Jensen twelve days earlier. He radioed in
21
     with his call sign and indicated that he was en route, as did Deputy William Westsik. Pelleboer
22
     Decl., ¶ 9-10 and Ex. B at 2:6-13; Westsik Decl., ¶ 4-5. Deputy Westsik, a police officer for over
23

24   twenty years who had joined the SCSO in 2017 after moving to Washington from Arizona, was

25

26

27
      SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                    SNOHOMISH COUNTY
      PARTIAL SUMMARY JUDGMENT- 4                                      PROSECUTING ATTORNEY - CIVIL DIVISION
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     assigned to the City of Stanwood police at the time. 1 Westsik Decl., ¶ 1-3. The Dispatcher than
1

2    reported:

3           DISPATCHER: Units en route to the physical DV, RP reported that the male pushed
            her off the bed. It’s an Adam – I think the last name is going to be Jensen. Born in
4
            ’75. White male, dark brown hair. Call taker has an open line, arguing now.
5
     Pelleboer Decl., Ex. B. at 2:14-17. Deputy Pelleboer responded over the radio, “Just for info, last
6
     time I dealt with him he was not very friendly.” Id. at 2:18-19. The Dispatcher then reported:
7

8
            DISPATCHER: Units en route to [Address redacted], call has been updated to a
            DV with a weapon. Female says the male has a knife on him and said he is going
9           to die tonight.
10   Id. at 2:24-3: Based on his knowledge from the previous week, Deputy Pelleboer responded via
11
     the radio to the dispatcher and the other officers en route to the scene, “He does have a history of
12
     suicide.” Id. at 3:2-3. The dispatcher also advised there were children in the home. Id. The
13

14
     Dispatcher next reported to the responding officers:

15          DISPATCHER: Male is asking, “Do you want me to die? Do you want me to die by
            police?”
16
     Pelleboer Decl., Ex. B at 3:13-14. Deputy Westsik arrived at the residence first. Westsik Decl., ¶
17

18   7. While waiting for the other deputies to arrive, Deputy Westsik exited his patrol vehicle and

19   stood near the residence, listening. He could hear Ms. Craig and Mr. Jensen arguing; while Ms.
20
     Craig sounded calm, Mr. Jensen’s tone was agitated. Id.
21
            When Deputy Pelleboer arrived at the residence, Deputies Pelleboer and Westsik had a
22
     brief discussion while still outside and determined that Deputy Pelleboer would serve as “less
23

24   lethal” cover and Deputy Westsik would serve as “lethal” cover. Westsik Decl., ¶ 8; Pelleboer

25

26   1
      The City of Stanwood contracts with the Snohomish County Sheriff’s Office for police services. Westsik Decl., ¶
27   3.
     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                          SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 5                                            PROSECUTING ATTORNEY - CIVIL DIVISION
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     Decl., ¶ 12. Deputies are trained to make this designation when time allows when dealing with a
1

2    potentially combative or violent subject in order to ensure that the minimum use of force required

3    will be used but that they are protected in the event something goes wrong. Westsik Decl., ¶ 8;
4
     Pelleboer Decl., ¶ 12.
5
            Deputies Westsik and Pelleboer knocked on the door, and Ms. Craig answered. Deputy
6
     Westsik asked Ms. Craig to step outside to speak with them about what happened. Ms. Craig
7

8
     declined, saying that she had children in the house. Pelleboer Decl., ¶ 13; Westsik Decl., ¶ 9.

9    Deputy Pelleboer was concerned for the welfare of the children and the risk presented to them of
10   being alone with Mr. Jensen with a knife, so when Ms. Craig let them inside, they immediately
11
     followed. Pelleboer Decl., ¶ 13. She began leading them through the kitchen and living room on
12
     the ground floor to the base of the stairs leading to the second story. Ms. Craig had a “nanny
13

14
     cam” (video camera) set up in the corner of her living room which was motion activated; the

15   camera recorded Ms. Craig letting the deputies inside and leading them upstairs. Stone Decl., Ex.

16   B (filed under seal as Dkt. 36) (DOW 000027 Timestamp 00:46 - 01:14).
17
            As Deputies Pelleboer and Westsik entered the residence on the ground floor, Deputy
18
     Pelleboer, who was familiar with the residence as a result of his interactions with Ms. Craig and
19
     Mr. Jensen there on August 28, 2018, described the layout of the bedrooms above them to Deputy
20

21   Westsik. Pelleboer Decl., ¶ 15; Westsik Decl., ¶ 10. On the video, Deputy Pelleboer is seen

22   gesturing to the ceiling above while describing the bedroom set up to Deputy Westsik. Dkt. 36
23
     (DOW 00027 Timestamp 00:56 – 01:03). Deputy Pelleboer had his taser out while Deputy
24
     Westsik had his hand on his firearm in its holster, consistent with their agreed designations of
25
     “less lethal” and “lethal” cover. See id.
26

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      SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                 SNOHOMISH COUNTY
      PARTIAL SUMMARY JUDGMENT- 6                                   PROSECUTING ATTORNEY - CIVIL DIVISION
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            Ms. Craig went up the stairwell first, followed by Deputy Pelleboer and then Deputy
1

2    Westik. Pelleboer Decl., ¶ 16; Dkt. 36 (DOW 000027 Timestamp 01:03 – 01:15). As Deputies

3    Pelleboer and Westsik came to the top of the stairs on the second floor, Ms. Craig entered her
4
     son’s bedroom to the right of the landing. Pelleboer Decl., ¶ 17; see also Dkt. 1 (Plaintiff’s
5
     Complaint) at 6. Once Ms. Craig was inside the bedroom, Deputy Pelleboer took a few steps
6
     down the hall and called out, “Hey Adam, it’s the police. Come out and talk to us.” Pelleboer
7

8
     Decl., ¶ 18; Dkt. 36 (DOW 000077Timestamp 01:23 – 01:26). Deputy Westsik was behind him

9    in the hallway. Westsik Decl., ¶ 12.
10          Deputy Pelleboer heard Mr. Jensen respond, “I’m not gonna do this again. I’m over this.
11
     I’m done.” Pelleboer Decl., ¶ 19. Deputy Westsik remembered Mr. Jensen saying, “I’m not
12
     fucking around this time!” Westsik Decl., ¶ 13. Mr. Jensen then came out of the bedroom at a
13

14
     “fast walk.” Pelleboer Decl., ¶ 19; Westsik Decl., ¶ 14-15. Mr. Jensen was wearing only

15   underwear and was walking directly toward Deputies Pelleboer and Westsik and holding a knife

16   with a long skinny blade in his right hand down by his side. Westsik Decl., ¶13-14; Pelleboer
17
     Decl., ¶ 20. Deputy Pelleboer began to back up; because the hallway was narrow, Deputy Westsik
18
     backed up as well, around the corner that creates the landing and toward the top of the stairs,
19
     losing sight of Mr. Jensen and Deputy Pelleboer behind the wall. Westsik Decl., ¶ 15.
20

21          Mr. Jensen did not stop coming toward Deputy Pelleboer at a fast walk with the knife in

22   his hand; as he was walking toward Deputy Pelleboer, Mr. Jensen raised the knife up to the level
23
     of his waist, with the tip pointing toward Deputy Pelleboer. Pelleboer Decl., ¶ 21. Fearful that
24
     Mr. Jensen was going to stab him or Deputy Westsik, to stop Mr. Jensen from advancing on his
25
     colleague and him, Deputy Pelleboer deployed his taser in probe mode. Id. The taser application
26

27
     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 7                                  PROSECUTING ATTORNEY - CIVIL DIVISION
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     was unsuccessful in stopping Mr. Jensen’s advance. Deputy Pelleboer backed up around the
1

2    corner onto the small landing at the top of the stairs, on the other side of Deputy Westsik,

3    throwing his taser behind him and reaching for his firearm. Id. Mr. Jensen came around the
4
     corner immediately after Deputy Pelleboer, chasing him with the knife. Westsik Decl., ¶ 18. As
5
     Mr. Jensen reentered Deputy Westsik’s line of sight, Deputy Westsik noted the position in which
6
     Mr. Jensen was holding the knife had now changed. He was no longer holding it by his side, but
7

8
     was instead holding it out in front of him at waist level with his elbow bent at ninety degrees with

9    the tip of the knife pointing out. Id. Once Deputy Westsik saw the knife again, he recognized it
10   as a drywall knife. Westsik Decl., ¶ 19. At the time, Deputy Westsik was actually in the middle
11
     of a home remodel and had purchased a similar knife the week prior. Id. He knew from working
12
     with it in his home that it could cut through drywall “like butter.” He knew it could therefore do
13

14
     some serious and potentially fatal damage to a human being. Id.

15          Mr. Jensen continued to advance towards the deputies while holding the knife in his right

16   hand. Westsik Decl., ¶ 21; Pelleboer Decl., ¶ 22. Deputy Westsik yelled, “DROP IT! DROP IT!”
17
     but Mr. Jensen did not do so. Westsik Decl., ¶ 21; Dkt. 36 (DOW 000027 Timestamp 01:32).
18
     Deputy Westsik was gravely concerned that Mr. Jensen was going to attempt to stab him, Deputy
19
     Pelleboer, or both, and thus he had no choice but to fire his weapon. Mr. Jensen was only a few
20

21   feet away when Deputy Westsik fired his .40 caliber duty firearm four times; three of the shots

22   struck his chest and one struck his foot. Westsik Decl., ¶ 21.
23
             Mr. Jensen dropped the knife near the top of the stairs and fell forward. Westsik Decl., ¶
24
     22. Mr. Jensen’s body fell near the ledge of the stairs and slid down the stairs to the ground floor,
25
     where it came to rest. Gwordske Decl., ¶ 11; Pelleboer Decl., ¶ 23. The knife, which was later
26

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     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                    SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 8                                      PROSECUTING ATTORNEY - CIVIL DIVISION
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     recovered near where Mr. Jensen had been holding it, was serrated and approximately 8 to 12
1

2    inches long with a pointed end. Bosch Decl., Ex. A.

3           While described in great detail here, these events occurred in incredibly rapid succession.
4
     See Dkt. 36. Approximately 6.4 seconds pass between Deputy Pelleboer saying, “Adam, it’s the
5
     police” and the sound of the taser deployment. Id. (DOW 000027 Timestamp 01:24 - 01:31).
6
     Approximately 2 seconds passed between the sound of the taser deployment and Deputy Westsik
7

8
     saying “DROP IT! DROP IT!” Id. (DOW 000027 Timestamp 01:31 - 01:33). The time between

9    the taser deployment and the first gunshot was approximately 2.8 seconds. Id. (DOW 000027
10   Timestamp 01:31 – 01:34).
11
            Sergeant Gwordske had arrived on the scene shortly after Deputy Pelleboer and Deputy
12
     Westsik entered the residence. Gwordske Decl., ¶ 9. He entered the front door and followed the
13

14
     sound of voices. He was at the base of the stairs and heard one of the deputies tell Mr. Jensen to

15   come out of the room and talk. Id. Sergeant Gwordske then heard rapid movement, the sound of

16   a taser deploy, and saw Deputy Pelleboer move back towards the top of the stairs. He then heard
17
     what he thought was two gunshots. Id. at ¶ 10. He saw Mr. Jensen collapse at the top of the stairs
18
     and fall down the stairs. He estimated the time between the deputy’s initial words to Mr. Jensen
19
     and the gunshots was a couple seconds. Id. at ¶ 10-11.
20

21          Sergeant Gwordske immediately announced over the radio shots had been fired.

22   Gwordske Decl., ¶ 10. He remained on scene as investigators arrived in order to secure the scene.
23
     He walked Deputy Westsik outside and collected the firearm used in the incident – a .40 caliber
24
     handgun. Id. at ¶ 16. When medics arrived on the scene, they concluded nothing could be done
25
     for Mr. Jensen, and called a doctor to announce the time of death. Dkt. 36 (DOW 000029).
26

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     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                  SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 9                                    PROSECUTING ATTORNEY - CIVIL DIVISION
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            The investigators who responded to the residence located and collected the relevant video
1

2    footage from the motion sensor video camera for evidentiary purposes. Stone Decl., Ex. B. (Dkt.

3    36). Investigators learned that the camera had been pointed towards the downstairs living room
4
     and had a view of the bottom of the stairwell and the door out of the kitchen. Id.
5
            On the video, Ms. Craig is observed on the phone with the dispatcher. Dkt. 36 (DOW
6
     0000 27 Timestamp 00:33). She opens the door for the two deputies. Deputy Pelleboer enters
7

8
     first holding a Maglite flashlight in his left hand and his taser in his right hand. He explains the

9    layout of the upstairs bedrooms to Deputy Westsik, who enters behind him. Deputy Westsik’s
10   left hand is on the grip of his firearm but the weapon remains in the holster. Dkt. 36 (DOW
11
     000027 Timestamp 01:00). The video skipped and Sergeant Gwordske walks through the living
12
     room towards the stairs. Deputy Pelleboer can be heard calling out, “Adam, it’s the police.”
13

14
     When Sergeant Gwordske walks to the base of the stairs, a loud “pop” is heard, which is attributed

15   to the taser deployment. Unintelligible sounds are heard, followed by a male voice yelling,

16   “DROP IT! DROP IT!” followed by the sounds of four gunshots. Sergeant Gwordske is observed
17
     taking a step away from the stairs and is heard radioing “shots fired.” A male voice is heard
18
     gasping or moaning. Dkt. 36 (DOW 000027 Timestamp 01:36). Deputy Pelleboer is observed
19
     coming down the stairs. Sounds consistent with Adam Jensen falling down the stairs are audible
20

21   as are sounds consistent with something coming to rest at the bottom of the stairs. Sergeant

22   Gwordske looks up the stairwell at Deputy Westsik and asked, “Are you guys okay?” Sergeant
23
     Gwordske looked at Deputy Pelleboer and asks, “Who shot?” Deputy Pelleboer responds, “He
24
     did,” gesturing towards Deputy Westsik. Deputy Pelleboer then said, “I tried less lethal but it
25

26

27
     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                   SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 10                                    PROSECUTING ATTORNEY - CIVIL DIVISION
     USDC #C20-1320-JCC                                                  Robert Drewel Bldg., 8th Floor, M/S 504
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     didn’t hit.” Deputy Westsik said, “Yeah, he just kept coming, you know.” Id. (DOW 000027
1

2    Timestamp 01:59 – 2:09).

3                                         PROCEDURAL POSTURE
4
            On September 2, 2020, Ms. Dow filed this Complaint, which contains no fewer than
5
     eleven separate claims for relief. Dkt. 1. Plaintiff asserts the following federal cause of action
6
     against Defendants Westsik, Pelleboer, Gwordske, and Snohomish County, pursuant to 42 U.S.C.
7

8
     § 1983: 1) Violation of Fourth Amendment, unreasonable seizure; 2) Violation of Fourth

9    Amendment, unreasonable use of excessive and deadly force; 3) Failure to prevent civil rights
10   violation/failure to intervene; and 4) Violation of Fourteenth Amendment (loss of right to enjoy
11
     the companionship and society of her adult child). Snohomish County Defendants now move for
12
     summary dismissal of all of these claims.
13

14
                                                     ISSUES

15          1. Did the law clearly establish beyond debate that shooting an assailant rapidly
               approaching officers with a knife who did not comply with commands to stop and did
16             not respond to the use of less lethal force was unconstitutional? No.
17
            2. Is Defendant Snohomish County liable under Monell v. Dep’t of Social Servs., 436
18             U.S. 658, 691 (1978)? No.

19          3. Has Plaintiff alleged a sufficient basis to support a failure-to-intervene claim? No.
20
            4. Should the Court exercise pendent jurisdiction over the remaining state law claims
21             when such claims are more appropriately heard in state court? No.

22                                                   ANALYSIS
23
            A.      Summary Judgment Standard.
24
            Under Fed. R. Civ. P. 56, on a motion for summary judgment, the Court must view the
25
     evidence in the light most favorable to the non-moving party, and then ask whether there is any
26

27
     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                  SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 11                                   PROSECUTING ATTORNEY - CIVIL DIVISION
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     “genuine dispute as to any material fact” under the governing substantive law. As to materiality,
1

2    the Supreme Court has held that “[o]nly disputes over facts that might affect the outcome of the

3    suit under the governing law will properly preclude the entry of summary judgment.” Anderson
4
     v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The court must determine whether there is a
5
     genuine issue for trial. Id. at 249.
6
            B.       The Use of Force by the Individually Named Defendants was Objectively
7
                     Reasonable Under the Totality of the Circumstances and the Defendants are
8
                     Entitled to Qualified Immunity.

9           For a claim under 42 U.S.C. § 1983 to proceed, at least two elements must be met: (1) the
10   defendant must be a person acting under color of state law, and (2) his conduct must have
11
     deprived the plaintiff of rights, privileges, or immunities secured by the constitution or laws of
12
     the United States. Parratt v. Taylor, 451 U.S. 527, 535 (1981). Implicit in the second element is
13

14
     a third element of causation. See Mt. Healthy City School Dist. Bod. Of Educ. v. Doyle, 429 U.S.

15   274, 286-87 (1977); Flores v. Pierce, 617 F.2d 1386, 1390-91 (9th Cir. 1980), cert denied, 449

16   U.S. 875 (1980).
17
            In this case, the individually named defendants are entitled to qualified immunity. “The
18
     doctrine of qualified immunity protects government officials ‘from liability for civil damages
19
     insofar as their conduct does not violate clearly established statutory or constitutional rights of
20

21   which a reasonable person would have known.’” Pearson v. Callahan, 555 U.S. 223, 231, 129 S.

22   Ct. 808 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727 (1982)). To
23
     defeat the defense of qualified immunity, a plaintiff must show (1) that each defendant caused a
24
     deprivation of a constitutional or statutory right, and (2) that such right was clearly established at
25
     the time of the alleged misconduct. See Hamby v. Hammond, 821 F.3d 1085, 1090 (9th Cir.
26

27
      SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                   SNOHOMISH COUNTY
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     2016). A court evaluating a qualified immunity defense to a § 1983 claim may decide for itself
1

2    which step of the analysis to undertake first, as failing either one will negate a plaintiff’s

3    eligibility to recover damages. Id.
4
            Here, the individually named defendants are entitled to qualified immunity under both
5
     prongs. There was no clearly established precedent prohibiting the use of deadly force against
6
     Mr. Jensen. And Deputy Westsik’s use of force was objectively reasonable under the totality of
7

8
     the circumstances. As discussed in more depth below, the federal claims against the individually

9    named defendants should be dismissed.
10                  1. There was no clearly established precedent prohibiting the use of force
11
                       against Mr. Jensen.

12          The Deputies’ use of force in this case was not clearly established as unlawful at the time
13   Adam Jensen died. To be “clearly established,” a legal principle must have a sufficiently clear
14
     foundation in then-existing precedent; the rule must be settled law. It is not enough that the rule
15
     is suggested by then-existing precedent. Precedent must be clear enough that every reasonable
16
     official would interpret it to establish the particular rule plaintiff seeks to apply. Columbia v.
17

18   Esby, 138 S.Ct. at 589-90. Whether a right was clearly established is a question of law. Morales

19   v. Fry, 873 F.3d 817, 821 (9th Cir. 2017). Clearly established law should not be defined at a high
20
     level of generality, but must be particularized to the facts of the case. Ashcroft v. al-Kidd, 563
21
     U.S. at 742; White v. Pauly, 580 U.S. __, 137 S.Ct. 548, 552 (2017); Jones v. Las Vegas
22
     Metropolitan Police Dept., 873 F.3d 1123, 1130 (9th Cir. 2017).
23

24          Defendants bear the burden of pleading the defense of qualified immunity, but the burden

25   then shifts to the Plaintiff to show that the official violated a right so clearly established “that
26

27
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     every reasonable official would have understood that what he [was] doing violate[d] that right.”
1

2    Ashcroft v. al-Kidd, 563 U.S. 731, 131 S.Ct. 2074, 2083 (2011); Emmons v. City of Escondido,

3    921 F.3d 1173, 1174 (9th Cir. 2019). A plaintiff must prove that binding case authority, that is,
4
     “precedent on the books,” “placed beyond debate the unconstitutionality of” the officials’ actions
5
     “as those actions unfolded in the specific context of the case at hand.” Hamby, 821 F.3d at 1090
6
     (emphasis added) (quoting Taylor v. Barkes, 135 S. Ct. 2042, 2044-45 (2015)). Here, Plaintiff
7

8
     bears the burden of identifying existing precedent where an officer acting under similar

9    circumstances was held to have violated the Fourth Amendment, or he must show that the force
10   used was so plainly excessive that as an objective matter, Deputies Pelleboer and Westsik would
11
     have been on notice that they were violating the Fourth Amendment. See Plumhoff v. Rickard,
12
     572 U.S. 765, 134 S.Ct. 2012 (2014); Emmons v. City of Escondido, 921 F.3d 1173, 1174 (9th
13

14
     Cir. 2019). In other words, if the right against the force used in this case was not clearly

15   established on September 9, 2018, these officers receive qualified immunity. See S.B. v. County

16   of San Diego, 864 F.3d 1010 (9th Cir. 2017).
17
            Allegations that law enforcement officers have used excessive force in the arrest or
18
     detention context are examined under the Fourth Amendment and its reasonableness standard.
19
     Graham v. Connor, 490 U.S. 386, 109 S.Ct. 1865 (1989). When considering the defense of
20

21   qualified immunity, the court considers only the facts that were knowable to the defendant

22   officers. White v. Pauly, 580 U.S. __, 137 S.Ct. 548 (2017); Kingsley v. Hendrickson, 576 U.S.
23
     389, 135 S. Ct. 2466 (2015).
24
            A recent Ninth Circuit opinion is instructive as to the clearly established law. In Ventura,
25
     et al. v. Rutledge, et al., 978 F.3d 1088 (2020), a panel affirmed the district court’s grant of
26

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     summary judgment to a police officer on the basis of qualified immunity when she shot the
1

2    plaintiff’s son, Omar Ventura. The undisputed facts in Ventura are these: (a) the police officer

3    was responding to a violent domestic disturbance where Omar had hit a woman and his own
4
     mother and smashed the window of the woman’s car; (2) Omar was approaching the woman with
5
     a knife drawn; (3) Omar continued his advance while ignoring multiple commands from the
6
     officer to stop and a warning that the officer would shoot; and (4) Omar had advanced to within
7

8
     10-15 feet of the woman when the officer fired. Ventura, 978 F.3d at 1090-91. The Ninth Circuit

9    found that no controlling precedent had clearly established that Omar’s right to be free from the
10   excessive use of deadly force by police would be violated when he was shot and killed as he
11
     advanced toward an individual he had earlier that day assaulted, while carrying a drawn knife
12
     and while defying specific police orders to stop. Id. at 1091-92 (because the unconstitutional
13

14
     nature of the officer’s conduct was not clearly established at the time of the events at issue here,

15   the court concluded that under Supreme Court precedent the officer was entitled to summary

16   judgment on qualified immunity grounds with respect to plaintiff’s claims brought under the
17
     Fourth Amendment).
18
            The panel in Ventura relied upon the decision in Kisela v. Hughes, 584 U.S. __, 138 S.
19
     Ct. 1148, 1152 (2018), where the Supreme Court considered a similar situation. In Kisela, a police
20

21   officer (Kisela) sought summary judgment on the ground that he was entitled to qualified

22   immunity for his alleged use of excessive force in shooting the respondent (Hughes). After
23
     Officer Kisela received a report that Hughes had been “engaging in erratic behavior with a knife,”
24
     he observed her holding a large kitchen knife as she took steps toward another woman
25
     (Chadwick) who was standing nearby. Id. at 1151. Hughes stopped no more than six feet from
26

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     Chadwick. Id. Hughes refused to drop the knife, despite officers' repeated commands for her to
1

2    do so. Id. Fearing that Hughes posed an imminent threat to the other woman, Kisela fired four

3    shots through a chain link fence and injured Hughes. Id. Although Hughes appeared calm and
4
     Chadwick stated in an affidavit that she did not feel endangered at any time, id., the majority
5
     concluded that at the time of the shooting, Kisela's actions in shooting Hughes did not violate
6
     clearly established law, and that qualified immunity therefore shielded Kisela from liability. Id. at
7

8
     1153. In sum, the Kisela court concluded that, as of 2010, it was not clearly established in the

9    Ninth Circuit that the use of deadly force was unconstitutional where the decedent was “armed
10   with a large knife,” had advanced “within striking distance” of another individual, and was
11
     ignoring the officer’s orders to drop the knife. Kisela, 138 S. Ct. at 1154.
12
            Here, the facts are even more compelling than they were in both Ventura and Kisela.
13

14
     Here, officers were responding to a call regarding a domestic violence assault where the assailant

15   was known to be both suicidal and armed with a knife while there were children present in the

16   home. One of the officers had had an interaction with Mr. Jensen the previous week where Mr.
17
     Jensen was “not friendly” towards police and that officer was aware of his history of suicide
18
     attempts, which he shared with the other responding officers via radio. Within moments of their
19
     arrival in the home, Mr. Jensen came at the deputies with a weapon held in an attack position;
20

21   when he began his “fast walk” towards the deputies from the master bedroom he was already

22   closer to them then Ventura had been to the officer when she shot him.
23
            Deputy Westsik issued a verbal command to drop the weapon; Mr. Jensen did not comply
24
     and was rapidly closing the gap between them, in a very small physical space. Additionally,
25
     unlike in Ventura and Kisela, here Deputy Pelleboer also attempted to use less lethal force to stop
26

27
     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                    SNOHOMISH COUNTY
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     Mr. Jensen before the use of lethal force. Deputy Pelleboer tried to stop Mr. Jensen using the less
1

2    lethal means of a taser – but Mr. Jensen did not stop.

3           Given all of these facts – the physical proximity of Mr. Jensen, the rapid sequence of
4
     events, Mr. Jensen’s failure to comply with commands, and the failure of less lethal means to
5
     stop Mr. Jensen’s approach while armed with a deadly weapon – Deputy Westsik had no choice
6
     but to use lethal force against Mr. Jensen to stop him from harming or killing either of the deputies
7

8
     with the knife. Given that these facts present an even more dangerous situation than the one

9    presented by the facts under Ventura or Kisela, it was not clearly established in 2018 that Deputy
10   Westsik’s use of deadly force against Mr. Jensen was excessive. The officers in those cases were
11
     entitled to qualified immunity – so too are the officers in this case.
12
            The deputies tried other means to stop Mr. Jensen in a very short period of time that were
13

14
     unfortunately unsuccessful; Deputy Westsik had no choice but to stop him using lethal force;

15   there was no clearly established precedent at the time of this incident establishing beyond debate

16   that Deputy Westsik’s conduct was unlawful. Both he, Deputy Pelleboer, and Sergeant Gwordske
17
     (who had no involvement with the actual use of force) are entitled to qualified immunity.
18
                      2. The use of deadly force against Mr. Jensen was objectively reasonable under
19                       the totality of the circumstances.
20
            Plaintiffs have asserted a Fourth Amendment claim relating to the use of deadly force
21
     against Mr. Jensen. 2 Under the available Ninth Circuit precedent, the deadly use of force in this
22
     case, while tragic, was objectively reasonable under the totality of the circumstances to protect
23

24

25
     2
      Plaintiff has alleged multiple constitutional violations; however, once a use of force is deemed reasonable under
26   Graham, it may not be found unreasonable by reference to some separate constitutional violation. “If there is no
     excessive force claim under Graham, there is no excessive force claim at all.” County of Los Angeles, Calif. v.
27   Mendez, __ U.S. __, 137 S.Ct. 1539, 1547 (2017).
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     human life. The “Supreme Court has made clear that claims of excessive force during an arrest,
1

2    investigatory stop, or other seizure of a free person must be brought under the Fourth

3    Amendment.” Graham v. Connor, 490 U.S. 386, 388, 394-95, 109 S.Ct. 1865 (1989). Use of
4
     force is a seizure that is subject to the Fourth Amendment’s reasonableness requirement. Ames v.
5
     King Cnty., Wa., 846 F.3d 340, 348 (2017). Under the Fourth Amendment, officers may use such
6
     force as is “objectively reasonable” under the circumstances. Id. (citing Graham v. Connor, 490
7

8
     U.S. 386, 397, 109 S.Ct. 1865 (1989)).

9           In evaluating whether the force used was objectively reasonable, courts balance “the
10   nature and quality of the intrusion on the individual’s Fourth Amendment interests” against the
11
     “countervailing government interests at stake.” Ames, 846 F.3d at 348. In performing this
12
     calculus, the court must “assess the quantum of force used” and then “measure the governmental
13

14
     interests at stake” by considering the three Graham factors: “[1] the severity of the crime at issue,

15   [2] whether the suspect poses an immediate threat to the safety of the officers or others, and [3]

16   whether he is actively resisting arrest or attempting to evade arrest by flight.” Davis v. City of
17
     Las Vegas, 478 F.3d 1048, 1054 (9th Cir. 2007) (citing Graham, 490 U.S. at 396).
18
            “These factors, however, are not exclusive. Rather, [the court] examine[s] the totality of
19
     the circumstances” and considers whatever specific factors may be appropriate in a particular
20

21   case, whether or not listed in Graham. Bryan v. MacPherson, 630 F.3d 805, 826 (9th Cir. 2010)

22   (quoting Franklin v. Foxworth, 31 F.3d 873, 876 (9th Cir. 1994)). This determination is made
23
     “from the perspective of a reasonable officer on the scene” and not “with the 20/20 vision of
24
     hindsight.” Ames, 846 F.3d at 348 (quoting Graham, 490 U.S. at 396, 109 S.Ct. 1865). “[P]olice
25
     officers are often forced to make split-second judgments—in circumstances that are tense,
26

27
     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                    SNOHOMISH COUNTY
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     uncertain, and rapidly evolving—about the amount of force that is necessary in a particular
1

2    situation.” Id.

3            Whether the suspect poses a threat to the safety of officers or others is “the most important
4
     single element of the three specified factors.” Chew v. Gates, 27 F.3d 1432, 1441 (9th Cir. 1994).
5
     Specifically, the Supreme Court has stated that the Fourth Amendment permits use of deadly
6
     force to apprehend a fleeing suspect where there is “probable cause to believe the suspect poses
7

8
     a threat of serious physical harm.” Tennessee v. Garner, 471 U.S. 1, 11 (1985). Such force is

9    justified if the officer can provide “an articulable basis for believing that [the suspect] was armed
10   or that he posed an immediate threat to anyone’s safety.” Chew, 27 F.3d at 1441.
11
             Mr. Jensen posed an immediate threat of harm to Deputy Westsik’s life. Mr. Jensen made
12
     suicidal statements, failed to respond to a taser deployment, failed to comply with commands to
13

14
     drop the knife, which he was holding in an attack position, and was quickly closing the distance

15   between himself and Deputy Westsik in a relatively small space. The test is not what Deputy

16   Westsik believed, but whether a reasonable officer, knowing and perceiving what Deputy Westsik
17
     knew and perceived, would have been justified in doing under the totality of the circumstances.
18
     Graham, 490 U.S. at 396. Given these facts, a reasonable officer in Deputy Westsik’s position
19
     would have believed that the use of deadly force was necessary under the totality of the
20

21   circumstances in light of the immediate threat of harm Mr. Jensen posed to Deputy Westsik’s

22   own life as well as to others.
23
             The other Graham factors also militate in favor of the reasonableness of the force.
24
     Regarding the severity of the crime at issue, the deputies were investigating whether there was
25
     probable cause to believe that Mr. Jensen had committed a domestic violence assault, which is an
26

27
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     offense for which there is a mandatory duty to arrest in the state of Washington. See RCW
1

2    10.99.030. Mr. Jensen was also actively resisting arrest, as the officers had announced themselves

3    and, rather than cooperate, Mr. Jensen chose to come at them with a weapon and to ignore their
4
     commands to drop it. Deputy Westsik’s use of deadly force was objectively reasonable under the
5
     totality of the circumstances – indeed, as discussed above, Deputy Westsik had no other choice
6
     than to use deadly force. Accordingly, the officers’ actions do not amount to a constitutional
7

8
     violation, and thus they are also entitled to qualified immunity on this basis as well as under the

9    “clearly established” prong.
10             In the alternative, as neither Deputy Pelleboer nor Sergeant Gwordske is alleged to have
11
     used deadly force against Mr. Jensen, both should be dismissed from this case. Deputy Pelleboer’s
12
     use of force – the taser deployment – was objectively reasonable under the circumstances, given
13

14
     that a suicidal assailant was approaching him with a knife after he had identified himself as police.

15   Sergeant Gwordske – referred to in the Complaint only as the “Bystander Deputy” – is not alleged

16   to have used any force whatsoever. All claims arising from use of force allegations against Deputy
17
     Pelleboer and Sergeant Gwordske should be dismissed.
18
                  C. There Are No Facts to Support a Monell Claim Against Snohomish County.
19
               Plaintiffs also assert a Monell claim against Snohomish County for excessive use of force,
20

21   but as there are no facts to support such a claim, it should be dismissed. A local government entity

22   is only liable under § 1983 when the constitutional deprivation at issue is the result of a specific
23
     governmental policy, practice, or custom, whether made by lawmakers or by those whose edicts
24
     or acts may fairly be said to represent official policy. Monell v. Dept. of Soc. Svcs., 436 U.S. 658
25
     (1978).
26

27
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            A plaintiff can establish municipal liability under 42 U.S.C. § 1983 in one of three
1

2    ways. Gillette v. Delmore, 979 F.2d 1342, 1346 (9th Cir.1992). “First, the plaintiff may prove

3    that a [government] employee committed the alleged constitutional violation pursuant to a formal
4
     governmental policy or a longstanding practice or custom which constitutes the standard
5
     operating procedure of the local governmental entity.” Id. (internal quotations and citation
6
     omitted). “Second, the plaintiff may establish that the individual who committed the
7

8
     constitutional tort was an official with ‘final policy-making authority’ and that the challenged

9    action itself thus constituted an act of official governmental policy.” Id. (citing Pembaur v. City
10   of Cincinnati, 475 U.S. 469, 480–81, 106 S.Ct. 1292, 89 L.Ed.2d 452 (1986). “Third, the plaintiff
11
     may prove that an official with final policy-making authority ratified a subordinate's
12
     unconstitutional decision or action and the basis for it.” Id. at 1346–47 (citing City of St. Louis v.
13

14
     Praprotnik, 485 U.S. 112, 127, 108 S.Ct. 915, 99 L.Ed.2d 107 (1988).

15          In their Complaint, Plaintiffs assert generally that “[a] contributing cause of Decedent

16   Jensen’s death and his mother’s loss of companionship with him and the violation of their federal
17
     constitutional rights was the unconstitutional policies, practices, and operating procedures of
18
     Defendant Snohomish County Sheriff’s Office.” Dkt. 4 at 15. This assertion fails for a number
19
     of reasons. First, it assumes that there was a constitutional violation, which, as discussed above,
20

21   there was not. Absent a constitutional violation, the mere fact that a municipality’s policies may

22   have been unconstitutional is not sufficient to impose liability. City of Los Angeles v. Heller, 475
23
     U.S. 796, 106 S.Ct. 1571 (1986); Quintanilla v. City of Downey, 84 F.3d 353 (9th Cir. 1996)
24
     (arrestee could not recover on § 1983 claim against a police chief for maintaining an allegedly
25
     unconstitutional policy on the use of police dogs, absent showing that the individual arresting
26

27
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     officers violated the arrestees constitutional rights through the use of police dogs); Estate of Diaz
1

2    v. City of Anaheim, 840 F.3d 592 (9th Cir. 2016).

3            Second, even assuming for the sake of argument, that there was a constitutional violation, 3
4
     Plaintiff has not specifically identified those policies, practices, or procedures she alleges were
5
     unconstitutional, nor explained the connection between such policies and the alleged
6
     constitutional violation at issue here. Nor will Plaintiff be able to do so in response to this motion,
7

8
     as Snohomish County’s use of force policies, practices, and procedures are not unconstitutional.

9    Plaintiff makes no allegation that an official with final policy-making authority took some action
10   here, nor that an official with policy-making authority ratified a subordinate’s unconstitutional
11
     decision or action and the basis for it. Accordingly, Plaintiff cannot support a claim of municipal
12
     liability, and all of the federal claims she asserts against the County should be dismissed.
13

14
                 D. Plaintiff Has Failed to State a Claim for Relief on a Theory of Failure to
                    Intervene.
15
             In her Complaint, Plaintiff alleges a claim for failure to intervene against individually
16
     named defendants Westsik, Pelleboer, Gwordske, as well as Snohomish County. 4 Presumably,
17

18   this claim is primarily aimed against defendant Chad Gwordske, who was merely present in the

19   house at the bottom of the stairs while the use of force was occurring at the top of the stairs. But
20
     Plaintiff has not alleged sufficient facts to support such a claim against any of the individually
21
     named defendants. “[P]olice officers have a duty to intercede when their fellow officers violate
22
     the constitutional right of a suspect or other citizen.” Cunningham v. Gates, 229 F.3d 1271, 1289
23

24   (9th Cir. 2000). Accordingly, if an officer fails to intervene when fellow officers use excessive

25

26
     3
       Defendants specifically deny any constitutional violations.
     4
       To the extent this claim is asserted against Snohomish County, such a claim fails for lack of a basis to support a
27   finding of municipal liability, as discussed in the preceding section.
      SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                             SNOHOMISH COUNTY
      PARTIAL SUMMARY JUDGMENT- 22                                              PROSECUTING ATTORNEY - CIVIL DIVISION
      USDC #C20-1320-JCC                                                            Robert Drewel Bldg., 8th Floor, M/S 504
                                                                                             3000 Rockefeller Ave
                                                                                    EVERETT, WASHINGTON 98201-4060
                                                                                      (425)388-6330/FAX: (425)388-6333
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     force, despite not acting to apply the force, he would be responsible for violating
1

2    the Fourth Amendment. United States v. Koon, 34 F.3d 1416, 1447 n. 25 (9th Cir. 1994) (“Thus

3    an officer who failed to intercede when his colleagues were depriving a victim of
4
     his Fourth Amendment right to be free from unreasonable force in the course of an arrest would,
5
     like his colleagues, be responsible for subjecting the victim to a deprivation of
6
     his Fourth Amendment rights.”), rev'd in part on other grounds, 518 U.S. 81 (1996).
7

8
             However, to state a Fourth Amendment claim for failure to intervene, a plaintiff must

9    provide specific plausible factual allegations demonstrating that the defendant officer had “a
10   realistic opportunity” to intercede. See Cunningham, 229 F.3d at 1289; see also Ashcroft v. Iqbal,
11
     556 U.S. 662, 678 (2009) (to state a claim for relief, a claim must be factually plausible – that is,
12
     the plaintiff must plead sufficient factual content for the court to draw the reasonable inference
13

14
     that the defendant is liable for the misconduct alleged).

15          The Complaint in this case is devoid of any factual allegations from which the Court can

16   infer that Sergeant Gwordske could actually observe that Deputy Pelleboer and Deputy Westsik’s
17
     use of force was excessive (which, for the reasons discussed above, it was not). Nor can the Court
18
     infer that Sergeant Gwordske had a “realistic opportunity” to intercede, given that the time
19
     between the initial statement to Mr. Jensen and the use of deadly force was a matter of seconds,
20

21   and Sergeant Gwordske was at the bottom of the stairs in an area where he could not see precisely

22   what was happening.
23
            Presuming, for the sake of argument, that the use of force was unlawful, Sergeant
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     Gworske did not have a reasonable or realistic opportunity to stop it, given his physical distance
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     and the rapidity of the events. Plaintiff’s allegation of failure to intervene against Sergeant
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     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                    SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 23                                     PROSECUTING ATTORNEY - CIVIL DIVISION
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     Gwordske is unsupported by the facts and no reasonable jury could find otherwise. The Court
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2    should dismiss this claim against Sergeant Gwordske in its entirety.

3           Nor do the facts support a failure to intervene claim against Deputies Pelleboer or Westsik.
4
     Again, presuming only for the sake of argument that the use of deadly force by Deputy Westsik
5
     was unlawful (which it was not), the facts demonstrate that because the events from the time Mr.
6
     Jensen emerged from the bedroom to the time the first shot was fired was only a matter of
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8
     seconds, Deputy Pelleboer would not have had a realistic opportunity to take any kind of

9    intervening action. Why this claim is asserted against Deputy Westsik is not clear, but for the
10   same reasons the facts do not support a failure to intervene claim against Deputy Pelleboer and
11
     Sergeant Gwordske, so too do the facts not support such a claim against Deputy Westsik. The
12
     claim of failure to intervene should be dismissed in its entirety.
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14
                E. The Court Should Decline to Exercise Pendent Jurisdiction Over the
                   Remaining State Law Claims and Dismiss Those Claims Without Prejudice.
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             A federal court should consider and weigh in each case, and at every stage of the
16
     litigation, the values of judicial economy, convenience, fairness, and comity in order to decide
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18   whether to exercise jurisdiction over a case brought in that court involving pendent state-

19   law claims. Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350, 108 S. Ct. 614, 619, 98 L. Ed.
20
     2d 720 (1988) (quoting United Mine Workers of America v. Gibbs, 383 U.S. 715, 726–727, 86
21
     S.Ct., at 1139 (1966).When the balance of these factors indicates that a case properly belongs in
22
     state court, as when the federal-law claims have dropped out of the lawsuit in its early stages and
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24   only state-law claims remain, the federal court should decline the exercise of jurisdiction by

25   dismissing the case without prejudice. Id.
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     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                   SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 24                                    PROSECUTING ATTORNEY - CIVIL DIVISION
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            As articulated by the Supreme Court, the doctrine of pendent jurisdiction is a doctrine of
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2    flexibility, designed to allow courts to deal with cases involving pendent claims in the manner

3    that most sensibly accommodates a range of concerns and values. Id. Here, should this Court
4
     grant Snohomish County Defendants’ motion for summary judgment as to the federal claims, the
5
     remaining claim are all based in Washington state law. See Dkt. 1 at 18-24. As such, these claims
6
     are best addressed in state court. This Court should thus dismiss the remaining state law claims
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8
     without prejudice so that Plaintiff may refile in state court should she choose to do so.

9                                                 CONCLUSION
10          Officers William Westsik, Kevin Pelleboer, and Chad Gwordske are entitled to qualified
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     immunity. No clearly established precedent placed the unconstitutionality of their actions beyond
12
     debate such that a reasonable officer would understand that the force used against Mr. Jensen was
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14
     unconstitutional. Additionally, Plaintiff has failed to allege sufficient facts to support a claim of

15   failure to intervene. Accordingly, all of the federal claims against Snohomish County Defendants

16   should be dismissed in their entirety with prejudice. The remaining state law claims should be
17
     dismissed without prejudice so that Plaintiff may file suit regarding these claims in a more
18
     appropriate venue.
19
            DATED this _1st__ day of April, 2021.
20

21                                              ADAM CORNELL
                                                Snohomish County Prosecuting Attorney
22
                                                By: /s/ Katherine H. Bosch
23
                                                DEBORAH A. SEVERSON, WSBA #35603
24                                              KATHERINE H. BOSCH, WSBA #43122
                                                Deputy Prosecuting Attorneys
25                                              Snohomish County Prosecutor’s-Civil Division
                                                3000 Rockefeller Avenue, M/S 504
26
                                                Everett, WA 98201
27
     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                    SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 25                                     PROSECUTING ATTORNEY - CIVIL DIVISION
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                                               Ph: (425) 388-6330 / Fax: (425) 388-6333
1
                                               deborah.severson@co.snohomish.wa.us
2                                              kbosch@snoco.org
                                               Counsel for Defendants County of Snohomish,
3                                              William Westsik, Kevin Pelleboer and Chad
                                               Gwordske
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     SNOHOMISH COUNTY DEFENDANTS’ MOTION FOR                                SNOHOMISH COUNTY
     PARTIAL SUMMARY JUDGMENT- 26                                 PROSECUTING ATTORNEY - CIVIL DIVISION
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